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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                           WEST PALM BEACH DIVISION

                                  Case No. 12-80364-CIV-MARRA/BRANNON


           JOHN KORMAN,

                    Plaintiff

           vs.

           AURORA LOAN SERVICES, LLC, et al.,

                 Defendants.
           ______________________________________/

                     DEFENDANT LAW OFFICES OF DAVID J. STERN, P.A.’S
                          CORPORATE DISCLOSURE STATEMENT

           Defendant Law Offices of David J. Stern, P.A., in accordance with Federal Rule of Civil

  Procedure 7.1, files its Corporate Disclosure Statement: (1) The Law Offices of David J. Stern,

  P.A., does not have a parent corporation; and (2) no publicly held corporation owns any of The

  Law Offices of David J. Stern, P.A.’s stock.

  Dated: August 9, 2012




                                                    TEW CARDENAS LLP
  Four Seasons Tower, 15th Floor, 1441 Brickell Avenue, Miami, Florida 33131-3407 T.305-536-1112 F.305-536-1116 TEWLAW.COM
   
   
   
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                                                                  Respectfully submitted,

                                                                  TEW CARDENAS LLP
                                                                  Counsel for Defendants
                                                                  Law Offices of David J. Stern, P.A.,
                                                                  David J. Stern and
                                                                  Cassandra Racine-Rigaud
                                                                  1441 Brickell Avenue, 15th Floor
                                                                  Miami, Florida 33131
                                                                  Telephone: (305) 536-1112
                                                                  Facsimile: (305) 536-1116

                                                                  By:       /s/ Spencer Tew
                                                                           JEFFREY A. TEW
                                                                           Florida Bar No. 121291
                                                                           jt@tewlaw.com
                                                                           SPENCER TEW
                                                                           Florida Bar No. 0537071
                                                                           st@tewlaw.com




                                         CERTIFICATE OF SERVICE

           I hereby certify that on August 9, 2012, I filed electronically the foregoing document with

  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record or pro se parties identified on the attached Service List in the

  manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

  or in some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.



                                                                  By:       /s/ Spencer Tew
                                                                               Spencer Tew




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                                                    TEW CARDENAS LLP
  Four Seasons Tower, 15th Floor, 1441 Brickell Avenue, Miami, Florida 33131-3407 T.305-536-1112 F.305-536-1116 TEWLAW.COM
   
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                                                   SERVICE LIST

                               CASE NO. 12-80634-CIV-MARRA/BRANNON

           John Korman
           934 SW 21st Way
           Boca Raton, Florida 33486
           Telephone: (561) 393-0773
           Email: Korman2001@comcast.net

           Plaintiff

           Steven Ellison, Esq.
           Broad & Cassel
           1 North Clematis Street , Suite 500
           West Palm Beach, FL 33401-5049
           Telephone:     (561) 832-3300
           Facsimile:     (561) 655-1109
           Email: sellison@broadandcassel.com

           Attorneys for Defendants Aurora Loan Services, LLC,
           Aurora Bank, FSB, Merscorp Holdings, Inc., and
           Mortgage Electronic Registration Systems, Inc.


           Harris Keith Solomon, Esq.
           Email: harris.solomon@brinkleymorgan.com
           Stacy Michelle Schwartz, Esq.
           Email: stacy.schwartz@brinkleymorgan.com
           Brinkley Morgan
           200 E Las Olas Boulevard, Suite 1900
           Fort Lauderdale, FL 33301
           Telephone:     (954) 522-2200
           Facsimile:     (954) 522-9123

           Attorneys for Defendant Misty Barnes




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                                                    TEW CARDENAS LLP
  Four Seasons Tower, 15th Floor, 1441 Brickell Avenue, Miami, Florida 33131-3407 T.305-536-1112 F.305-536-1116 TEWLAW.COM
   
